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                                                  April 9,2018




 Via ECF

 Honorable Deborah A. Batts
 United States District Judge
 Daniel Patrick Moynihan
 United States Courthouse
 500 Pearl St., Room 2510
 New York, NY 10007-1312


            Re:        Bernstein, et ctl. v. O'Reiily. et al.. Civ. Action No. 1:17-cv-9483 (DAB)

 Dear Judge Batts:

         I write to follow up on Mr. Mullin's letter of today and to inform the Court that the
 parties have reached agreement regarding Plaintiffs' Motion to File a Second Amended
 Complaint, ECF Nos. 52 & 53, and briefing of the Defendants' motions to compel arbitration
 and/or dismiss the complaint, ECF Nos. 40^-2, 43^45, 58, 59. The parties jointly request the
 following:

                   •   That the Second Amended Complaint be accepted for filing;
                   •   That Defendants shall address the allegations of the Second Amended Complaint
                       in their reply briefs in support of arbitration and/or dismissal;
                   •   That such replies briefs shall be filed no later than April 20, 2018; and
                   •   That the page limit for such reply briefs shall be enlarged to twenty pages.

            The parties respectfully request that the Court so order.
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WILLIAMS 6 CONNOLLY LLP



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 cc: All counsel of record (via ECF)
